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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Paddy Kalish,                                      :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
EOS CCA; and DOES 1-10, inclusive,                 :
                                                     COMPLAINT
                                                   :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Paddy Kalish, by undersigned counsel, states as

follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Paddy Kalish (“Plaintiff”), is an adult individual residing in Sharon,

Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant EOS CCA (“EOS”), is a Massachusetts business entity with an address

of 700 Longwater Drive, Norwell, Massachusetts 02061, operating as a collection agency, and is

a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by EOS and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      EOS at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      A financial obligation (the “Debt”) was incurred to a creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to EOS for collection, or EOS

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. EOS Engages in Harassment and Abusive Tactics

       12.     Within the last year, Defendants have placed up to three (3) calls a day to

Plaintiff’s cellular and residential phone lines.

       13.     Defendants also called Plaintiff’s work phone line and left a message with

Plaintiff’s co-worker stating that the call concerned Plaintiff’s “important legal matter.”


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       14.       Further, on or around July 12, 2011 Defendants called Plaintiff’s neighbor and left

a voice message stating that the call was an attempt to locate Plaintiff regarding his “important

legal matter.”

       15.       Defendants placed automated calls with pre-recorded voice messages on

Plaintiff’s residential phone line in an attempt to collect the Debt.

       16.       Defendants failed to inform Plaintiff of his rights under the state and federal laws

by written correspondence within 5 days after the initial communication, including the right to

dispute the Debt.


   C. Plaintiff Suffered Actual Damages


       17.       The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       18.       As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.


                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.       The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       20.       The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties and failed to identify themselves and further failed to confirm or correct

location information.




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          21.     The Defendants’ conduct violated 15 U.S.C. § 1692b(3) in that Defendants

contacted third parties in regards to the Plaintiff’s debt on numerous occasions, without being

asked to do so.

          22.     The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.

          23.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

          24.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

          25.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants

failed to send the Plaintiff a validation notice stating the amount of the Debt.

          26.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants

failed to send the Plaintiff a validation notice stating the name of the original creditor to whom

the Debt was owed.

          27.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt

within thirty days.

          28.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants

failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have

verification and judgment mailed to the Plaintiff.



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       29.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that Defendants

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to request the name and

address of the original creditor.

       30.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       31.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

       32.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       33.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

       34.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.


                                COUNT III
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       35.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       36.     Without prior consent the Defendants made telephone calls to the Plaintiff’s

residential telephone line using an artificial or prerecorded voice to deliver a message without the

prior express consent of the Plaintiff in violation of 47 U.S.C. § 227(b)(1)(B).



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       37.      The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the Telephone Consumer Protection Act, including every one of the above-

cited provisions.

       38.      The Plaintiff is entitled to damages as a result of the Defendants’ violations.


                                 COUNT IV
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       39.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       40.      The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       41.      Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       42.      The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous calls, including calls to Plaintiff’s co-worker

and neighbor.

       43.      The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       44.      As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       45.      All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.

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                                  PRAYER FOR RELIEF

             WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                 2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                    § 1692k(a)(3) against Defendants;

                 4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                    c. 93A § 3(A);

                 5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                 6. Actual damages from Defendants for the all damages including emotional

                    distress suffered as a result of the intentional, reckless, and/or negligent

                    FDCPA violations and intentional, reckless, and/or negligent invasions of

                    privacy in an amount to be determined at trial for the Plaintiff;

                 7. Punitive damages; and

                 8. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: August 10, 2011

                                            Respectfully submitted,

                                            By __/s/ Sergei Lemberg_

                                            Sergei Lemberg (BBO# 650671)
                                            LEMBERG & ASSOCIATES L.L.C.
                                            1100 Summer Street, 3rd Floor

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